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                                                                                U.S. DISTRICT COURT

                       UNITED STATES DISTRICT COURT FOR THE
                           SOUTHERN DISTRICT OF GEORGIA                        20120CT-2 A11it:03
                                SAVANNAH DIVISION

UNITED STATES OF AMERICA                     )
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                                             )
              V.                             )              CR405-59
                                             )
MARTIN J. BRADLEY III, et al.                )

                                             ORDER

       On September 28, 2012, the Government moved the Court to order certain disbursements

from the Court's Registry and for other relief in accordance with the comprehensive settlements

between the Government and the Bradleys regarding the financial obligations in this case.

       The Court hereby GRANTS the Government's motion and ORDERS that within ten (10)

days from this order: (a) $1,000,000 from the Court's Registry be paid via certified funds to the

order of Norma Bradley; (b) $2,953,775.92 from the Court's Registry (and any interest minus

expenses accrued since the transfer) be paid via certified funds to Maria Carmen Bradley; (c) the

United States Marshal Service shall turn 11142 nd Street, Newport Beach, CA over to Maria

Carmen Bradley; and, (d) the Substitute Receiver shall execute a quitclaim deed conveying the

Substitute Receiver's interest in the Newport Beach property to Maria Carmen Bradley and to

cause said deed to be recorded in the Official records, Orange County, California.

       Thidayof                            ,2012.



                                      B. AVANWDENFIE
                                      SENIOR UNITED ST S DISTRICT COURT JUDGE
                                      SOUTHERN DISTRI1 OF GEORGIA
